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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND

                                            )
 STATE OF NEW YORK; STATE OF                )
 CALIFORNIA; STATE OF ILLINOIS;             )
 STATE OF RHODE ISLAND; STATE OF            )
 NEW JERSEY; COMMONWEALTH OF                )
 MASSACHUSETTS; STATE OF
                                            )
 ARIZONA; STATE OF COLORADO;
                                            )
 STATE OF CONNECTICUT; STATE OF
 DELAWARE; THE DISTRICT OF                  )
 COLUMBIA; STATE OF HAWAI’I;                )
 STATE OF MAINE; STATE OF                   )
 MARYLAND; STATE OF MICHIGAN;               )
 STATE OF MINNESOTA; STATE OF               )
 NEVADA; STATE OF NORTH                     )
 CAROLINA; STATE OF NEW MEXICO;             )
 STATE OF OREGON; STATE OF                  )
 VERMONT; STATE OF WASHINGTON;              )
 and STATE OF WISCONSIN,
                                            )
                                            )
       Plaintiffs,
                                            )
 v.                                         )
                                            )     C.A. No. 25-cv-39-JJM-PAS
 DONALD TRUMP, in his Official              )
 Capacity as President of the United        )
 States; U.S. OFFICE OF                     )
 MANAGEMENT AND BUDGET;                     )
 MATTHEW J. VAETH, in his Official          )
 Capacity as Acting Director of the U.S.    )
 Office of Management and Budget; U.S.      )
 DEPARTMENT OF THE TREASURY;
                                            )
 SCOTT BESSENT, in his Official
 Capacity as Secretary of the Treasury;     )
 PATRICIA COLLINS, in her Official          )
 Capacity as Treasurer of the U.S.; U.S.    )
 DEPARTMENT OF HEALTH AND                   )
 HUMAN SERVICES; DOROTHY A.                 )
 FINK, M.D., in her Official Capacity As    )
 Acting Secretary Of Health And Human       )
 Services; U.S. DEPARTMENT OF               )
 EDUCATION; DENISE CARTER, in her           )
 Official Capacity as Acting Secretary of   )
 Education; U.S. FEDERAL
                                            )
 EMERGENCY MANAGEMENT
 AGENCY; CAMERON HAMILTON, in               )
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 his Official Capacity as Acting          )
 Administrator of the U.S. Federal        )
 Emergency Management Agency; U.S.        )
 DEPARTMENT OF                            )
 TRANSPORTATION;
                                          )
 JUDITH KALETA, in her Official
                                          )
 Capacity as Acting Secretary of
 Transportation; U.S. DEPARTMENT OF )
 LABOR; VINCE MICONE, in his Official )
 Capacity as Acting Secretary of Labor;   )
 U.S. DEPARTMENT OF ENERGY;               )
 INGRID KOLB, in her Official Capacity    )
 as Acting Secretary of the U.S.          )
 Department of Energy; U.S.               )
 ENVIRONMENTAL PROTECTION                 )
 AGENCY; JAMES PAYNE, in his Official )
 Capacity as Acting Administrator of the  )
 U.S. Environmental Protection Agency;
                                          )
 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her            )
 Capacity as Secretary of the U.S.        )
 Department of Homeland Security; U.S.    )
 DEPARTMENT OF JUSTICE; JAMES R. )
 McHENRY III, in his Official Capacity as )
 Acting Attorney General of the U.S.      )
 Department of Justice; THE NATIONAL )
 SCIENCE FOUNDATION; and DR.              )
 SETHURAMAN PANCHANATHAN, in              )
 his Capacity as Director of the National
                                          )
 Science Foundation,
                                          )
        Defendants.                       )
                                          )

                                      ORDER

      The Plaintiff States’ Motion for Enforcement of the Temporary Restraining

Order (“TRO”) (ECF No. 66) is GRANTED.

      [It is a] basic proposition that all orders and judgments of courts must
      be complied with promptly.           * * * Persons who make private
      determinations of the law and refuse to obey an order generally risk
      criminal contempt even if the order is ultimately ruled incorrect. The
      orderly and expeditious administration of justice by the courts requires
      that an order issued by a court with jurisdiction over the subject matter



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      and person must be obeyed by the parties until it is reversed by orderly
      and proper proceedings.

Maness v. Meyers, 419 U.S. 449, 458–59 (1975) (citations and quotations omitted)

(emphasis added). The Defendants issued a broad, categorical, all-encompassing

directive freezing federal funding. The plain language of the TRO entered in this case

prohibits all categorical pauses or freezes in obligations or disbursements based on

the OMB Directive or based on the President’s 2025 Executive Orders. 1             The

Defendants received notice of the TRO, the Order is clear and unambiguous, and

there are no impediments to the Defendants’ compliance with the Order.

      The States have presented evidence in this motion that the Defendants in some

cases have continued to improperly freeze federal funds and refused to resume

disbursement of appropriated federal funds. See Exhibits A-C of the States’ motion,

(ECF Nos. 66-1, 66-2, and 66-3). The Defendants now plea that they are just trying

to root out fraud. See ECF No. 70. But the freezes in effect now were a result of the

broad categorical order, not a specific finding of possible fraud. The broad categorical

and sweeping freeze of federal funds is, as the Court found, likely unconstitutional

and has caused and continues to cause irreparable harm to a vast portion of this

country. These pauses in funding violate the plain text of the TRO. 2 In response to



      1 The Defendants acknowledged that they understood what the TRO required:

“Federal agencies cannot pause, freeze, impede, block, cancel, or terminate any
awards or obligations on the basis of the OMB Memo, or on the basis of the President’s
recently issued Executive Orders.” ECF No. 51-1 at 1 (emphasis added).
       2 The Court disagrees with the Defendants’ Notice (ECF No. 51), particularly

paragraph 2. The Court’s TRO is clear and unambiguous in its scope and effect, which
is inconsistent with the Defendant’s interpretation contained in the Notice. ECF
No. 51 at 2.


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the Defendants’ arguments, they can request targeted relief from the TRO from this

Court where they can show a specific instance where they are acting in compliance

with this Order but otherwise withholding funds due to specific authority.

      Therefore, consistent with the United States Constitution, United States

statutes, United States Supreme Court precedent, and the TRO, the Defendants are

hereby further ORDERED as follows:

      1.    The Defendants must immediately restore frozen funding during the

pendency of the TRO until the Court hears and decides the Preliminary Injunction

request.

      2.    The Defendants must immediately end any federal funding pause

during the pendency of the TRO.

      3.    The Defendants must immediately take every step necessary to

effectuate the TRO, including clearing any administrative, operational, or technical

hurdles to implementation.

      4.    The Defendants must comply with the plain text of the TRO not to pause

any funds based on pronouncements pausing funding incorporated into the OMB

Directive, like Section 7(a) of the Unleashing Executive Order, and the OMB

Unleashing Guidance. The TRO requirements include any pause or freeze included

in the Unleashing Guidance.

      5.    The Defendants must immediately restore withheld funds, including

those federal funds appropriated in the Inflation Reduction Act and the




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Infrastructure Improvement and Jobs Act.        The directives in OMB M-25-11 are

included in the TRO.

      6.     The Defendants must resume the funding of institutes and other

agencies of the Defendants (for example the National Institute for Health) that are

included in the scope of the Court’s TRO.




IT IS SO ORDERED.


/s/John J. McConnell, Jr.
_________________________________
John J. McConnell, Jr.
Chief Judge
United States District Court for the District of Rhode Island

February 10, 2025




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